          Case 18-32106 Document 126 Filed in TXSB on 05/24/18 Page 1 of 1




UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                   Houston              Main Case Number          18-32106 (MI)
          Debtor            In Re:                    Erin Energy Corporation, et al.


This lawyer, who is admitted to the State Bar of                  California                :

                       Name                             Jeffrey N. Pomerantz, Esq.
                       Firm                             PACHULSKI STANG ZIEHL & JONES LLP
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                                                        California (143717)
             Licensed: State & Number

Seeks to appear as the attorney for this party:

                             Official Committee of Unsecured Creditors


 Dated: May 24, 2018                      Signed: /s/ Jeffrey N. Pomerantz




 COURT USE ONLY: The applicant’s state bar reports their status as:                                .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
